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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

       v.                                            Criminal No. 2:01cr6-3

WILLIAM L. HELSER,
                Defendant.

                                       ORDER/OPINION

       On the 25th day of January 2007, came the defendant, William L. Helser, in person,

pursuant to an Amended Petition for Warrant or Summons for Offender Under Supervision filed

in this case on July 25, 2006, alleging Defendant violated conditions of his supervised release as
 follows:

1.     Violation of Mandatory Condition that he not commit another federal, state or local crime;

2.     Violation of Mandatory Condition that he not commit another federal, state or local crime;

       Violation of Standard Condition #7 that he refrain from the excessive use of alcohol and
       not purchase, possess, use, distribute, or administer any controlled substance or any
       paraphernalia related to any controlled substance, except as prescribed by a physician;

3.     Violation of Mandatory Condition that he not commit another federal, state or local crime;

       Violation of Standard Condition #7 that he refrain from the excessive use of alcohol and
       not purchase, possess, use, distribute, or administer any controlled substance or any
       paraphernalia related to any controlled substance, except as prescribed by a physician;

       Violation of Standard Condition #9 that he not associate with any person engaged in criminal
       activity and not associate with any person convicted of a felony, unless granted permission
       to do so by the probation officer;

4.     Violation of Mandatory Condition that he not commit another federal, state or local crime;

       Violation of Standard Condition #7 that he refrain from the excessive use of alcohol and
       not purchase, possess, use, distribute, or administer any controlled substance or any
       paraphernalia related to any controlled substance, except as prescribed by a physician;

       Violation of Standard Condition #8 that he not frequent places where controlled substances
       are illegally sold, used, distributed or administered;
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       Violation of Standard Condition #9 that he not associate with any person engaged in criminal
       activity and not associate with any person convicted of a felony, unless granted permission
       to do so by the probation officer;

5.     Violation of Standard Condition #2 that he report to the probation officer and submit a
       truthful and complete written report within the first five days of each month;

6.     Violation of Mandatory Condition that he not commit another federal, state or local crime;

7.     Violation of Mandatory Condition that he not commit another federal, state or local crime;

       Violation of Standard Condition #7 that he refrain from the excessive use of alcohol and
       not purchase, possess, use, distribute, or administer any controlled substance or any
       paraphernalia related to any controlled substance, except as prescribed by a physician;

       The Nature of the alleged violations is detailed in the Amended Petition for Warrant or

Summons for Offender under Supervision filed July 25, 2006, and is not repeated here.

       On March 6, 2006, United States District Judge Robert E. Maxwell ordered the issuance of

a warrant, and ordered that Defendant be detained upon arrest.1 Defendant had an Initial

Appearance before the undersigned United States Magistrate Judge on January 25, 2007.

       After being advised of the charges and potential statutory or guideline penalties that could

be imposed if it were determined by a preponderance of the evidence standard that Defendant had

violated one or more of the conditions of his supervised release, his constitutional rights and right

to a preliminary hearing and prior to the taking of evidence, Defendant waived the preliminary

hearing conceding probable cause existed to forward this revocation matter to United States District

Judge Robert E. Maxwell for hearing and disposition.

       Upon consideration of all which, the Court finds there is probable cause to believe that the

defendant violated the conditions of his supervised release as alleged in the Amended Petition for

Warrant or Summons for Offender Under Supervision filed July 25, 2006.


       1
       The warrant was pursuant to the Petition for Warrant or summons for Offender Under
Supervision, which has since been amended, without a new warrant needed or issued.
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        It is therefore ORDERED that the defendant be bound over for a full hearing before the

Honorable Robert E. Maxwell, United States District Judge for the Northern District of West

Virginia on the violations alleged in the Amended Petition for Warrant or Summons for Offender

Under Supervision filed July 25, 2006.

       The Court noted that Defendant had recently filed a letter motion requesting appointment

of counsel and requesting a hearing [Docket Entry 188]. The undersigned GRANTED Defendant’s

motion for appointed counsel, thereby terminating the motion in part. For docketing purposes,

Docket Entry 188 is therefore GRANTED IN PART.

       Defendant is remanded to the custody of the United States Marshal pending further

proceedings in this matter.

       The Clerk of the Court is directed to send a copy of this order to counsel of record.

       DATED: January 25, 2006
                                                     /s John S. Kaull
                                                     JOHN S. KAULL
                                                     UNITED STATES MAGISTRATE JUDGE
